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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                          Case No. 22-cr-234 (KMM/TNL)
                      Plaintiff,
                                                                                    ORDER
        v.

 JUSTICE ANTHONY VALENTINO,

                      Defendant.


       It appears from the Court’s review of the record that Mr. Valentino did not receive

the full transcript of the proceedings, which occurred on November 8, 2022. Mr. Valentino

was provided with a copy of the unsealed portion of that transcript, but not the sealed

portion during which the Magistrate Judge, Mr. Valentino, and his counsel discussed his

concerns about his representation outside the presence of the Assistant United States

Attorney. The Clerk’s Office is Ordered to provide Mr. Valentino with a copy of that

portion of the transcript. In addition, since Mr. Valentino has put this specific aspect of his

attorney’s performance and his communications with his attorney at issue through his

pending § 2255 petition, he has partially waived his attorney-client privilege. “Voluntary

disclosure of attorney-client communications expressly waives the privilege.” United

States v. Hahn, 58 F.4th 1009, 1012 (8th Cir. 2023) (quoting United States v. Workman,

138 F.3d 1261, 1263 (8th Cir. 1998)); see also id. (finding that because defendant “waived

his attorney-client privilege on communications . . . the court did not err in allowing the

testimony.”); United States v. Davis, 583 F.3d 1081, 1090 (8th Cir. 2009) (“[Defendant’s]
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waiver extends to ‘any information directly related to that which was actually disclosed.’)

(quoting 8 Charles A. Wright, Arthur R. Miller, Federal Practice and Procedure

§ 2016.2)). Therefore, the government may also be provided access to this transcript,

should they choose to request one.

       Within 30 days after Mr. Valentino receives the transcripts addressed by this Order,

he may file a supplemental memorandum including any additional argument in support of

his motion under 28 U.S.C. § 2255. Within 14 days after Mr. Valentino submits any

supplemental memorandum, the government shall file a response or, alternatively, the

government may file a letter indicating that it will not submit any additional argument.


Dated: November 18, 2024                  s/Katherine M. Menendez
                                          KATHERINE M. MENENDEZ
                                          United States District Judge




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